                         IN THE UNITED STATES DISTIRCT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE


ARCH INSURANCE COMPANY

         Plaintiff:

v.                                                             NO.:

CAD ENGINEERING RESOURCES
d/b/a CER GROUP NORTH AMERICA
CORPORATION and RAYMOND LEE WAGNER, JR.

        Defendants.



                          PETITION FOR DECLARATORY RELIEF


         Petitioner Arch Insurance Company (hereinafter referred to as "Arch") by and through

counsel, seeks a declaration that it has no duty to indemnify or defend CAD Engineering

Resources, Inc. d/b/a CER Group, North America Corporation (hereinafter referred to as "CER")

as an insured under a policy of insurance issued by Arch by reason of fact that claims made

against CER in connection with a particular incident are specifically excluded under the subject

po1icy. For its Petition for Declaratory Judgment, Arch Insurance Company states to the Court:

                                            PARTIES

         1.      Petitioner Arch Insurance Company (Arch) is a Missouri Corporation with its

principal place of business located at 300 Plaza Three, Jersey City, NJ.

        2.       Respondent CAD Engineering Resources, Inc. d/b/a CER Group North America

Corporation (CER) at all times relevant is a corporation actively engaged in business in the State

of Tennessee with a principal place of business at 6670 Burroughs, Sterling Heights, Michigan

48314 and can be served through its registered agent for service of process Jerome Masakowski.


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            3.    Respondent Raymond Lee Wagner Jr. is a resident and citizen of Charleston

County, South Carolina. Mr. Wagner was a resident and citizen of Robertson County, Tennessee

at the time he was injured while working at a plant in Springfield, Tennessee as set forth in

paragraphs 9 and 18 herein.

                                   JURISDICTION AND VENUE

            4.    Petitioner brings this action for declaratory judgment pursuant to 28 U.S.C. §

2201 and Rule 57 of the Federal Rules of Civil Procedure.

            5.    This court has jurisdiction to hear this cause pursuant to 28 U.S.C. § 1332 as it is

between citizens of different states and the amount in controversy exceeds $75,000 exclusive of

interest and cost.

            6.    This Court is the proper venue for this action pursuant to 28 U.S.C. § 1391 as a

substantial part of the events and the omissions    ~ving   rise to this claim occurred in this judicial

district.

                                    GENERAL ALLEGATIONS

            7.    On about March 1, 2013 Arch issued a Commercial General Liability Insurance

Policy to CER policy number SPPKG0042501 . The Policy had a tenn of 12 months beginning

on the effective date of March 1, 2013. A copy of the policy is attached hereto as Exhibit A.

            8.    On or about March l, 2013 Arch issued a Commercial Excess Liability Insurance

Policy to CER, policy number SPFXS0042501. The Excess Policy had a term of 12 months

beginning on the effective date of March I, 2013. A copy of the Excess Policy is attached hereto

as Exhibit B.

            9.    Respondent Wagner has alleged that on or about August l, 2013 he was injured

while working at a plant owned by International Automotive Components Group North America,



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Inc., (hereinafter referred to as "IAC") which manufactures automobile components. Wagner

filed suit against CER in the Circuit Court of Robertson County, Tennessee Docket Number
                                            >

74CCI-2014-CV-303. The case was removed to the United States District Court for the Middle

District of Tennessee Docket Number 3: 14-cv-1831. (The " Original Underlying Complaint")

         10.      Arch denied and disclaimed all coverage for the claims which formed the basis of

the "Original Underlying Complaint".

         11.      In its denial Arch requested that should the "Original Underlying Complaint" be

amended, that CER provide a copy of the same to Arch immediately.

         12.      Despite the fact that CER never notified Arch of an Amended Complaint, Arch

subsequently learned that an Amended Complaint (hereinafter referred to as the "Amended

Underlying Complaint") was filed by Wagner. A copy of the Amended Underlying Complaint is

attached hereto as Exhibit C.

         13.      In the "Amended Underlying Complaint" Wagner alleges that he was an

employee of TrueBlue, Inc. d/b/a Labor Ready (hereinafter referred to as "TrueBlue").

         14.      TrueBlue is a company which provides workers to other businesses on a

temporary basis.

         15.      On or about January 31, 2013 CER and IAC entered into a contract whereby CER

provided staffing services to IAC. A copy of the contract is attached hereto as Exhibit D.

         16.      On or about August 1, 2013 IAC was a client of CER.

         17.      In the "Amended Underlying Complaint" Wagner alleges that TrueBlue entered

into a contract with CER and/or IAC to provide services to IAC.         (A copy of the contract is

attached/included in Exhibit D attached hereto.)




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          18.      In the "Amended Underlying Complaint" Wagner alleges that he was injured

while performing work alongside an employee of CER and/or IAC at IAC' s plant in Springfield,

Tennessee.

          19.      In the "Amended Underlying Complaint" Wagner alleges that he was injured

while placing material into a mold press at IAC's plant in Springfield, Tennessee.

         20.       Wagner alleges that CER was negligent when it negligently hired the IAC/CER

employee who operated the mold press, failed to train the employee who operated the mold

press; failed to inform its employee of his duties and responsibilities; failed to adequately warn

Plaintiff of the dangers at the worksite; and failed to provide a safe environment.

         21.       The "Amended Underlying Complaint" seeks compensatory damages for the

injuries caused by the alleged negligence of CER.

         22.       CER has not made a demand on Arch that it defend and/or indemnify it in

connection with claims asserted in the "Amended Underlying Complaint."

         23.        Without waiving and excusing any of CER's duties under the policy and

reserving all rights granted to Arch, Arch offered to defend CER under a reservation of rights for

the claims which form the basis of the "Amended Underlying Complaint" despite the fact that

CER did not forward/demand or tender the "Amended Underlying Complaint'' to Arch.

         24.        Wagner was furnished to CER by TrueBiue to meet seasonal or short term

workload conditions.

         25.       Additionally and/or in the alternative, on August l, 2013 Wagner was furnished

by or on behalf of CER to IAC to meet the workload conditions of IAC.

                          THE COMMERCIAL GENERAL LIABILITY POLICY

         26.        The Arch policy provides coverage, under SECTION I-COVERAGES.



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                  COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
                  LIABILITY in part as follows:
                   1. Insuring Agreement
                         a. We will pay those sums that the insured becomes legally
                            obligated to pay as damages because of "bodily injury" or
                            "property damage" to which this insurance applies ...
                            However, we will have no duty to defend the insured
                            against any "suit" seeking damages for "bodily injury" or
                            "property damage" to which this insurance does not
                            apply...

                         b. This insurance applies to "bodily injury'' and "property
                            damage" only if:

                            1) The bodily injury or property damage is caused by an
                                "occurrence" that takes place in the coverage territory.

         27.      The Arch policy contains the following exclusions:

                  2.        Exclusions,
                  This insurance does not apply to:
                         d. Worker's Compensation And Similar Laws
                            Any obligation of the insured under a worker's
                            compensation, disability benefits or unemployment
                            compensation law or any similar law.

                         e. Employer's Liability

                            "Bodily injury'' to:

                            1) An employee of the insured arising out of and in the
                               course of:

                               a) Employment by the insured; or

                               b) Performing duties related to the conduct of the
                                  insured' s business; ...

                            This exclusion applies whether the insured may be liable as
                            an employer or in any other capacity and to any obligation
                            to share damages with or repay someone else who must pay
                            damages because of the injury ...



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         28.       The Arch policy contains SECTION V- DEFINITIONS which includes the

following definitions:

                  3. "Bodily injurit means bodily injury, sickness or disease
                     sustained by a person, including death resulting from any of
                     these at any time.

                  5. "Employee., includes a "leased worker.'t Employee does not
                     include a "temporary worker.H

                  10. "Leased worker'' means a person leased to you by a labor
                      leasing firm under an agreement between you and the labor
                      leasing firm, to perform duties related to the conduct of your
                      business. "Leased worker" does not include a "temporary
                      worker.••

                  13. "Occurrence" means an accident, including continuous or
                      repeated exposure to substantially the same general harmful
                      conditions.

                  19. "Temporary worker" means person who is furnished to you to
                      substitute for a permanent employee on leave or to meet
                      seasonal or short term workload conditions.

         29.      The Arch policy contains ENDORSEMENT OOGL0552 00 04 09

which provides in part as follows:

                  STAFFING SERVICES LIABILITY - - SPECIAL PROVISONS
                  This Endorsement applies to the following forms:
                  COMMERICAL GENERAL LIABILITY COVERAGE FORM
                  B) The following exclusions are added under SECTION 1-
                     COVERAGES, COVERAGE A BODILY INJURY AND
                     PROPERTY DAMAGE LIABILITY paragraph 2.
                     Exclusions and COVEERAGE B PERSONAL AND
                     ADVERTISING INJURY LIABILITY paragraph 2.
                     Exclusions.

                  Employer's or Other Worker Related Liability

                  This insurance does not apply to any damages, loss, cost, or
                  expense arising out of any injuries sustained by any:

                  1. "Employee" of the insured arising out of and in the course of:

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                         a) Employment by the insured; or

                         b) Perfonning duties related to the conduct of the insured's
                            business

                  2. "PEO worker"
                  3. "Staffing Services worker''

                  4. "Temporary Worker"...

                  Titls exclusion applies regardless of the capacity in which the
                  insured may be liable and to any obligation to share any damages,
                  loss, cost, or expense with or to repay any person or organization
                  who must pay any damages, loss, cost, or expense because of any
                  of the foregoing.

                  Subparagraph 1. above does not apply to the liability for damages
                  for "bodily injury" (to which this insurance applies) assumed by
                  the insured under an "insured contract", unless the person
                  sustaining such injury or damage is also described in subparagraph
                  2. above.

                  C. Under SECTION V-DEFINITIONS, Definition 9. "Insured
                         contract" is amended by the addition of the following:
                         "Insured contracts. does not include that part of any contract or
                         agreement in which liability is assumed for any injury or
                         damage sustained by any "PEO worker''.

                  D. Under SECTION V -DEFINITIONS, the                          following
                  definitions are added and apply to this endorsement:

                         1. "PEO" means Professional Employer Organization.

                         2. "PEO worker" means a person who is an "employee" of the
                            insured and who is also an "employees. of a client of the
                            insured by reason of a contract or agreement with a client
                            of the insured.

                         3. "Staffing Services worker" is a person (whether or not an
                            "employee") who is furnished at any time by or on behalf
                            of the insured to a client of the insured to meet the
                            workload conditions of such client.

                  All other terms and conditions of the policy remain unchanged.



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                                         THE EXCESS POLICY

         30.      The Arch Excess Policy contains the Commercial Excess Liability Coverage

Form which provides in part:

                   COMMERCIAL EXCESS LIABILITY COVERAGE FORM

                  Various provisions in this policy restrict coverage. Read the entire
                  policy carefully to determine rights, duties and what is and is not
                  covered.

                  Other words and phrases that appear in quotation marks in this
                  Coverage Part have special meaning. Refer to Section IV -
                  Definitions. Other words and phrases that are not defined under
                  this Coverage Part but defined in the "controlling underlying
                  insurance" will have the meaning described in the policy of
                  "controlling underlying insurance".

                  SECTION I - COVERAGES
                  1.        Insuring Agreement
                         a. We will pay on behalf of the insured the "ultimate net loss"
                            in excess of the "retained limit" because of "injury or
                            damage" to which insurance provided under this Coverage
                            Part applies.

                            We will have the right and duty to defend the insured
                            against any suit seeking damages for such "injury or
                            damage" when the applicable limits of "controlling
                            underlying insurance" have been exhausted in accordance
                            with provisions of such "controlling underlying insuranceH.

                            When we have no duty to defend, we will have the right to
                            defend, or to participate in the defense of~ the insured
                            against any other suit seeking damages for "injury or
                            damage".

                            However, we will have no duty to defend the insured
                            against any suit seeking damages for which insurance under
                            this policy does not apply ....

                  2.        Exclusions

                            The following exclusions, and any other exclusions added
                            by endorsement, apply to this Coverage Part. In addition,


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                            the exclusions applicable to any "controlling underlying
                            insurance" apply to this insurance unless superseded by the
                            following exclusions, or superseded by any other
                            exclusions added by endorsement to this Coverage Part.

                         d. Workers' Compensation And Similar Laws

                            Any obligation of the insured under a workers'
                            compensation, disability benefits or unemployment
                            compensation law or any similar law.

                  SECTION IV - DEFINITIONS

                  The definitions applicable to any "controlling underlying
                  insurance" also apply to this insurance. In addition, the following
                  Definitions apply.

                         1. "Controlling underlying insurance: means any policy of
                            insurance or self-insurance listed in the Declarations under
                            the Schedule of controlling underlying insurance."

                         4. "Injury or damage" means any injury or damage, covered
                            in the applicable "controlling underlying insurance" arising
                            from an "event".

         31.      The Arch Excess Policy contains a schedule of Controlling

Underlying Insurance which provides in pertinent part:


                    COMMERCIAL EXCESS LIABILITY
           SCHEDULE OF CONTROLLING UNDERLYING INSURANCE

         Policy No.                 XPFXS0042501

         Name Insured:              CER-CAD ENGINEERING RESOURCES

         INSURER, POLICY NUMBER                           TYPE OF COVERAGE
            AND POLICY PERIOD

         Insurer's Name                                      General Liability
         ARCH INSURNACE COMPANY                              X - Occurrence

         Policy Number
         SPPKG0042501



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          32.      Arch's rights under the policy(s) have been called into question and, by this

Petition; Arch seeks a declaration of its rights and obligations with respect to the aforesaid

"Amended Underlying Complaint.u

          33.      The claims and damages alleged by Wagner in the "Amended Underlying

Complaint" are not covered under the Commercial General Liability Policy pursuant to one or

more of the above terms, conditions, exclusions and/or Endorsements.

         34.       The claims and damages alleged by Wagner in the "Amended Underlying

Complainf' are not covered under the Excess Policy pursuant to the terms, conditions, exclusions

and Endorsements contained in and/or applicable to the Excess Policy.

         35.       Arch desires a finding by this Court that under the above referenced policy(s) of

insurance, Arch has no duty to defend or indemnify CER in connection with the ..Amended

Underlying Complaint" because the claims alleged by Wagner against CER are not covered

under the Policy(s) pursuant to the foregoing terms and exclusions contained therein.

         36.       There exists an actual controversy between Arch and CER and Wagner in the

"Amended Underlying Complaint" concerning their rights and duties in that Arch contends that

it does not have a duty to defend CER against the claims made in the "Amended Underlying

Complaint" and that it does not have to indemnify CER for any damages arising from the

"Amended Underlying Complaint" filed by Wagner.

         37.       There is a bona fide actual present and practical need for the declaration that no

coverage exists under the policy(s} and a determination of the rights and obligations of Arch.




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         38.      In bringing this action for Declaratory Relief, should any of the underlying

claims, allegations or suits be amended or should any other claims be asserted in connection with

the matters which form the basis of the "Underlying Amended Complaint", Arch reserves the

right to amend this Petition for Declaratory Relief to assert any and all its rights under the

policy(s), all of which it continues to reserve.



         WHEREFORE Petitioner Arch respectfully requests this court enter a judgment declaring

that

                  A)     Arch has no duty to defend CER in connection with the "Amended

Underlying Complaint" or the incident which forms the basis for the "Amended Underlying

Complaint. n

                  B)     Arch has no duty to indemnify CER in connection with any verdicts,

judgments, or settlements in the "Amended Underlying Complaint" or the incident which forms

the basis for the "Amended Underlying Complaint."

                  C)     Arch requests any and all other relief to which it may be entitled.

                                                Respectfully submitted,

                                                SHUTTLEWORTH, WILLIAMS, PLLC


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